            Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 1 of 16




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


  KEITH BEAN,
                                                      Civil Action No.
                      Plaintiff,
                                                      COMPLAINT FOR VIOLATIONS
       v.                                             OF THE FEDERAL SECURITIES
                                                      LAWS

   ZENDESK, INC., MIKKEL SVANE,
   ARCHANA AGRAWAL, CARL BASS,                        JURY TRIAL DEMANDED
   MIKE CURTIS, MIKE FRANDSEN,
   BRANDON GAYLE, STEVE
   JOHNSON, HILARIE KOPLOW-
   MCADAMS, THOMAS SZKUTAK, and
   MICHELLE WILSON,

                      Defendants.



       Plaintiff Keith Bean (“Plaintiff”) by and through his undersigned attorneys, brings this

action on behalf of himself, and alleges the following based upon personal knowledge as to those

allegations concerning Plaintiff and, as to all other matters, upon the investigation of counsel,

which includes, without limitation: (a) review and analysis of public filings made by Zendesk,

Inc., (“Zendesk” or the “Company”) and other related parties and non-parties with the United

States Securities and Exchange Commission (“SEC”); (b) review and analysis of press releases

and other publications disseminated by certain of the Defendants (defined below) and other

related non-parties; (c) review of news articles, shareholder communications, and postings on the

Company’s website concerning the Company’s public statements; and (d) review of other

publicly available information concerning Zendesk and the Defendants.
            Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 2 of 16




                                 SUMMARY OF THE ACTION

       1.       This is an action brought by Plaintiff against Zendesk and the Company’s Board

of Directors (the “Board” or the “Individual Defendants”) for their violations of Section 14(a)

and 20(a) of the Securities Exchange Act of 1934, 15.U.S.C. §§ 78n(a), 78t(a), and SEC Rule

14a-9, 17 C.F.R. 240.14a-9, in connection with the Company’s proposed merger with

Momentive Global Inc. (“Momentive”) (the “Proposed Transaction”).

       2.       On October 28, 2021, the Company announced that it had entered into an

Agreement and Plan of Merger (the “Merger Agreement”) with Momentive. Pursuant to the

terms of the Merger Agreement, Momentive’s stockholders will receive 0.225 shares of Parent

for each share of Momentive common stock owned

       3.       On December 6, 2021, in order to convince the Company’s shareholders to vote

in favor of the Proposed Transaction, the Board authorized the filing of a materially incomplete

and misleading Registration Statement with the SEC (the “Registration Statement”), in violation

of Sections 14(a) and 20(a) of the Exchange Act.

       4.       For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Zendesk and the Board for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule

14a-9. Plaintiff seeks to enjoin Defendants from taking any steps to consummate the Proposed

Transaction unless and until the material information discussed below is disclosed to Zendesk

shareholders before the vote on the Proposed Transaction or, in the event the Proposed

Transaction is consummated, recover damages resulting from the Defendants’ violations of the

Exchange Act.




                                                  2
             Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 3 of 16




                                   JURISDICTION AND VENUE

        5.       This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

        6.       This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains

operations within, this District, or is an individual who is either present in this District for

jurisdictional purposes or has sufficient minimum contacts with this District so as to make the

exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

        7.       Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                           THE PARTIES

        8.       Plaintiff is, and has been at all times relevant hereto, the owner of Zendesk shares.

        9.       Defendant Zendesk is incorporated under the laws of California and has its

principal executive offices located at 989 Market Street, San Francisco, California 94103. The

Company’s common stock trades on the New York Stock Exchange under the symbol “ZEN.”

        10.      Defendant Mikkel Svane (“Svane”) is and has been the Company’s Chief

Executive Officer and member of the Board at all times during the relevant time period.

        11.      Defendant Archana Agrawal (“Agrawal”) is and has been a director of Zendesk at

all times during the relevant time period.

        12.      Defendant Carl Bass (“Bass”) is and has been a director of Zendesk at all times

during the relevant time period.




                                                   3
         Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 4 of 16




       13.     Defendant Mike Curtis (“Curtis”) is and has been a director of Zendesk at all

times during the relevant time period.

       14.     Defendant Mike Frandsen (“Frandsen”) is and has been a director of Zendesk at

all times during the relevant time period.

       15.     Defendant Brandon Gayle (“Gayle”) is and has been a director of Zendesk at all

times during the relevant time period.

       16.     Defendant Steve Johnson (“Johnson”) is and has been a director of Zendesk at all

times during the relevant time period.

       17.     Defendant Hilarie Koplow-McAdams (“Koplow-McAdams”) is and has been a

director of Zendesk at all times during the relevant time period.

       18.     Defendant Thomas Szkutak (“Szkutak”) is and has been a director of Zendesk at

all times during the relevant time period.

       19.     Defendant Michelle Wilson (“Wilson”) is and has been a director of Zendesk at

all times during the relevant time period.

       20.     Defendants Svane, Agrawal, Bass, Curtis, Frandsen, Gayle, Johnson, Koplow-

McAdams, Szkutak, and Wilson are collectively referred to herein as the “Individual

Defendants.”

       21.     The Individual Defendants, along with Defendant Zendesk, are collectively

referred to herein as “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                  Background of the Company

       22.     Zendesk was founded in 2007 and is a service-first customer relationship

management company, built to give organizations of all sizes, in every industry, the ability to




                                                 4
         Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 5 of 16




deliver a transparent, responsive, and empowering customer experience. With solutions designed

to address an increasingly broad set of customer interactions, Zendesk allows organizations to

deliver omnichannel customer service and customize and build apps across the customer journey.

Zendesk has evolved its offerings over time to product and platform solutions that work together

to help organizations understand the broader customer journey, improve communications across

all channels, and engage where and when it’s needed most.

                    The Company Announces the Proposed Transaction

       23.     On November 15, 2021, the Company jointly issued a press release announcing

the Proposed Transaction. The press release stated in part:


       SAN FRANCISCO & SAN MATEO, Calif.--(BUSINESS WIRE)--
       Zendesk (NYSE: ZEN) and Momentive (NASDAQ: MNTV) have entered
       into a definitive agreement under which Zendesk will acquire Momentive,
       including its iconic SurveyMonkey platform. The terms of the transaction
       provide for Momentive stockholders to receive 0.225 shares of Zendesk
       stock for each share of Momentive stock, a ratio which represents an
       implied value of approximately $28 per outstanding share of Momentive
       stock based on the 15-day volume weighted average price of Zendesk
       common stock up to and including October 26, 2021.

       Zendesk expects the combination to be growth accretive in its first full
       operating year and accelerate Zendesk’s revenue plan to $3.5 billion in
       2024, one year ahead of its previous target. The companies’ respective
       sizable customer bases and complementary capabilities are expected to
       provide significant opportunity for joint product adoption and increasing
       Momentive’s enterprise traction. Zendesk will reinvest savings from scale
       efficiencies into compelling growth opportunities to support the
       combination. Upon the close of the transaction, Momentive CEO Zander
       Lurie will continue to lead Momentive’s strong management team.

       “The SurveyMonkey brand is iconic and we’ve admired their business
       from afar since the inception of Zendesk. They truly democratized an
       industry—almost everyone in the world has responded to one of their
       surveys at some point,” said Mikkel Svane, CEO & Founder, Zendesk.
       “We’re very excited to have them join the Zendesk mission along with
       Momentive’s market research and insights products and together create a
       powerful new Customer Intelligence company. We will deliver a rich,



                                                5
 Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 6 of 16




colorful picture of every customer so businesses really understand their
customers and can build more authentic relationships.”

“We look forward to combining with Zendesk to advance our mission and
accelerate our long-term growth strategy,” said Zander Lurie, CEO,
Momentive. “This is a testament to the strength of our agile products and
talented team. Zendesk and Momentive share a culture centered around our
people, our communities and the customers we serve. The synergies
between our companies are proximate and compelling. We are uniquely
positioned to make Customer Intelligence a reality while delivering
significant value for our shareholders.”

Acquisition to Create Powerful New Customer Intelligence Company

In today’s digital-first economy, it is imperative to build more meaningful
relationships with customers. Meaning comes from a deep understanding
of the customer and their experiences. Although businesses often have an
endless supply of data, they lack actionable and personalized customer
intelligence. Instead, businesses are left with a picture of the customer that
is one dimensional, impersonal and incomplete.

Zendesk pioneered the ability to respond to what customers say and do,
making it easier to deliver superior customer service. Momentive is a
leader in capturing how customers think and feel, helping companies make
critical decisions quickly and confidently.

With Momentive, Zendesk will create what businesses really need—a
customer intelligence company that connects what customers say and do,
with how they think and feel. The combination will give businesses the
ability to:



Listen to your customers: Collect critical information about customer
needs, experiences and expectations

Develop a rich picture: Bring a customer into focus by combining
transactional data with market research and insights for the context to truly
understand them

Act on insights: Empower teams to take action with the full breadth of data
about their customers as well as feedback and market insights to improve
customer interactions

Transaction Terms




                                      6
 Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 7 of 16




Following a comprehensive review, the boards of directors of Zendesk and
Momentive have approved the transaction.

The terms of the transaction provide for Momentive stockholders to
receive 0.225 shares of Zendesk stock for each share of Momentive stock,
a ratio which represents an implied value of approximately $28 per
outstanding share of Momentive stock based on the 15-day volume
weighted average price of Zendesk common stock up to and including
October 26, 2021. Upon closing of the transaction, Zendesk stockholders
will own approximately 78% of the combined company and Momentive
stockholders will own approximately 22% of the combined company. The
transaction, which is anticipated to close in the first half of 2022, is subject
to approval by Zendesk stockholders and Momentive stockholders, the
receipt of required regulatory approvals and other customary closing
conditions. The transaction is intended to qualify as a tax-free
reorganization for U.S. federal income tax purposes.

Zendesk has published a presentation to provide an overview of the
transaction, available on both Zendesk and Momentive’s investor relations
websites. Additional details and information about the terms and
conditions of the transaction will be available in Current Reports on Form
8-K to be filed by Zendesk and Momentive with the Securities and
Exchange Commission.

Quarterly Financial Results

In separate press releases issued today, Zendesk announced financial
results for the third quarter of 2021 and Momentive announced preliminary
results for its third quarter of 2021. Momentive will issue a press release to
share its full third quarter financial results on November 9, 2021.

Conference Call and Webcast

Today at 2:00 p.m. (PT) / 5:00 p.m. (ET), Zendesk will host a conference
call to discuss its Q321 earnings and the transaction. The live video
webcast can be accessed through Zendesk investor relations website at
https://investor.zendesk.com. A replay of the webcast will be available for
12 months.

Advisors

Goldman Sachs & Co. LLC is serving as lead financial advisor and
Centerview Partners LLC is also serving as financial advisor to Zendesk.
Hogan Lovells US LLP is serving as legal counsel to Zendesk. Allen &
Company LLC and J.P. Morgan Securities LLC are serving as equal lead




                                       7
         Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 8 of 16




       financial advisors and Wilson Sonsini Goodrich & Rosati Professional
       Corporation is serving as legal counsel to Momentive.

                 FALSE AND MISLEADING STATEMENTS
      AND/OR MATERIAL OMISSIONS IN THE REGISTRATION STATEMENT

       24.      On December 6, 2021, the Company authorized the filing of the Registration

Statement with the SEC.        The Registration Statement recommends that the Company’s

shareholders vote in favor of the Proposed Transaction.

       25.      Defendants were obligated to carefully review the Registration Statement prior to

its filing with the SEC and dissemination to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions. However, the Registration Statement

misrepresents and/or omits material information that is necessary for the Company’s

shareholders to make informed decisions regarding whether to vote in favor of the Proposed

Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act.

                   Material False and Misleading Statements or Material
             Misrepresentations or Omissions Regarding the Financial Projections

       26.      The Registration Statement contains projections created by management of the

companies, but fails to provide material information concerning such.

       27.      The SEC has repeatedly emphasized that disclosure of non-GAAP projections can

be inherently misleading, and has therefore heightened its scrutiny of the use of such

projections. 1 Indeed, on May 17, 2016, the SEC’s Division of Corporation Finance released new



1
  See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC’s
Evolving Views, Harvard Law School Forum on Corporate Governance and Financial
Regulation (June 24, 2016), available at https://corpgov.law.harvard.edu/2016/06/24/non-gaap-
financial-measuresthesecs evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping
Companies Spin Losses Into Profits, N.Y. Times, Apr. 22, 2016, available at
http://www.nytimes.com/2016/04/24/business/fantasy-mathis-helping-companies-spin-ossesinto-
profits.html?_r=0.



                                                8
           Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 9 of 16




and updated Compliance and Disclosure Interpretations (“C&DIs”) on the use of non-GAAP

financial measures that demonstrate the SEC’s tightening policy. 2 One of the new C&DIs

regarding forward-looking information, such as financial projections, explicitly requires

companies to provide any reconciling metrics that are available without unreasonable efforts.

       28.      In order to make management’s projections included in the Registration Statement

materially complete and not misleading, Defendants must provide a reconciliation table of the

non-GAAP measures to the most comparable GAAP measures.

       29.      Specifically, with respect to the projections, the Company must disclose the line

item projections for the financial metrics that were used to calculate the non-GAAP measures.

       30.      Disclosure of the above information is vital to provide investors with the complete

mix of information necessary to make an informed decision when voting on the Proposed

Transaction.    Specifically, the above information would provide shareholders with a better

understanding of the analyses performed by the Company’s financial advisor in support of its

opinion.

                    Material False and Misleading Statements or Material
               Misrepresentations or Omissions Regarding the Financial Opinion

       31.      The Registration Statement contains the financial analyses and opinion of Allen &

Company LLC (“Allen & Company”) and J.P. Morgan Securities LLC (“J.P. Morgan”)

concerning the Proposed Transaction, but fails to provide material information concerning such.

       32.      With respect to Allen & Company’s Selected Public Companies Analyses for

Momentive and Zendesk, the Registration Statement fails to disclose the individual multiples and

metrics for each of the companies observed by Allen & Company in the analyses.


2
 Non-GAAP Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES
AND       EXCHANGE          COMMISSION           (May     17,     2017), available   at
https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.


                                                 9
         Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 10 of 16




       33.     With respect to Allen & Company’s Selected Precedent Transactions Analysis,

the Registration Statement fails to disclose the individual multiples and metrics for each of the

transactions observed by Allen & Company in the analyses.

       34.     With respect to Allen & Company’s Discounted Cash Flow Analysis for

Momentive, the Registration Statement fails to disclose: (i) Momentive’s terminal values; and

(ii) the inputs and assumptions underlying Allen & Company’s use of the discount rates ranging

from 8.0% to 9.25%; and (iii) the inputs and assumptions underlying Allen & Company’s use of

the perpetuity growth rates ranging from 3.0% to 3.5%.

       35.     With respect to Allen & Company’s Discounted Cash Flow Analysis for Zendesk,

the Registration Statement fails to disclose: (i) Zendesk’s terminal values; and (ii) the inputs and

assumptions underlying Allen & Company’s use of the discount rates ranging from 7.25% to

8.5%; and (iii) the inputs and assumptions underlying Allen & Company’s use of the perpetuity

growth rates ranging from 3.0% to 3.5%.

       36.     With respect to Allen & Company’s analysts’ price targets analyses, the

Registration Statement fails to disclose the price targets observed in the analyses, as well as the

sources thereof.

       37.     With respect to J.P. Morgan’s Public Trading Multiples Analyses for Momentive

and Zendesk, the Registration Statement fails to disclose the individual multiples and metrics for

each of the companies observed by J.P. Morgan in its analyses.

       38.     With respect to J.P. Morgan Discounted Cash Flow Analysis for Momentive, the

Registration Statement fails to disclose: (i) Momentive’s terminal value; (ii) the inputs and

assumptions underlying J.P. Morgan’s use of the discount rates ranging from 9.0% to 10.0%; and




                                                10
         Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 11 of 16




(iii) the inputs and assumptions underlying J.P. Morgan’s use of the terminal growth rates

ranging from 3.0% to 4.0%; and (iv) the fully-diluted shares outstanding used in the analysis.

        39.     With respect to J.P. Morgan Discounted Cash Flow Analysis for Zendesk, the

Registration Statement fails to disclose: (i) Zendesk’s terminal value; (ii) the inputs and

assumptions underlying J.P. Morgan’s use of the discount rates ranging from 8.25% to 9.25%;

(iii) the inputs and assumptions underlying J.P. Morgan’s use of the terminal growth rates

ranging from 3.0% to 4.0%; and (iv) the fully-diluted shares outstanding used in the analysis.

        40.     With respect to J.P. Morgan’s Discounted Equity Research Analyst Price Targets

analyses, the Registration Statement fails to disclose the price targets observed in the analyses, as

well as the sources thereof.

        41.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed. Moreover,

the disclosure of projected financial information is material because it provides shareholders with

a basis to project the future financial performance of a company and allows shareholders to

better understand the financial analyses performed by the Company’s financial advisor in support

of its fairness opinion.

        42.     Without the above described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.

                                            COUNT I

                     (Against All Defendants for Violations of Section 14(a)
                of the Exchange Act and Rule 14a-9 Promulgated Thereunder)



                                                 11
           Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 12 of 16




          43.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          44.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          45.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that communications with stockholders in a recommendation statement shall not

contain “any statement which, at the time and in the light of the circumstances under which it is

made, is false or misleading with respect to any material fact, or which omits to state any

material fact necessary in order to make the statements therein not false or misleading.” 17

C.F.R. § 240.14a-9.

          46.   Defendants have issued the Registration Statement with the intention of soliciting

shareholders support for the Proposed Transaction. Each of the Defendants reviewed and

authorized the dissemination of the Registration Statement, which fails to provide critical

information regarding, among other things, the financial projections for the Company.

          47.   In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Defendants, by virtue

of their roles as officers and/or directors, were aware of the omitted information but failed to

disclose such information, in violation of Section 14(a). The Defendants were therefore



                                                     12
        Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 13 of 16




negligent, as they had reasonable grounds to believe material facts existed that were misstated or

omitted from the Registration Statement, but nonetheless failed to obtain and disclose such

information to shareholders although they could have done so without extraordinary effort.

       48.     The Defendants knew or were negligent in not knowing that the Registration

Statement is materially misleading and omits material facts that are necessary to render it not

misleading. The Defendants undoubtedly reviewed and relied upon the omitted information

identified above in connection with their decision to approve and recommend the Proposed

Transaction.

       49.     The Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Registration Statement, rendering the

sections of the Registration Statement identified above to be materially incomplete and

misleading. Indeed, the Defendants were required to be particularly attentive to the procedures

followed in preparing the Registration Statement and review it carefully before it was

disseminated, to corroborate that there are no material misstatements or omissions.

       50.     The Defendants were, at the very least, negligent in preparing and reviewing the

Registration Statement. The preparation of a Registration Statement by corporate insiders

containing materially false or misleading statements or omitting a material fact constitutes

negligence. The Defendants were negligent in choosing to omit material information from the

Registration Statement or failing to notice the material omissions in the Registration Statement

upon reviewing it, which they were required to do carefully as the Company’s directors. Indeed,

the Defendants were intricately involved in the process leading up to the signing of the Merger

Agreement and the preparation of the Company’s financial projections.

       51.     The misrepresentations and omissions in the Registration Statement are material




                                               13
           Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 14 of 16




to Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction.

          52.   Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                             COUNT II

                            (Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act)

          53.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          54.   The Individual Defendants acted as controlling persons of Zendesk within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Zendesk, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Registration Statement filed with the SEC, they had the power to influence and control and

did influence and control, directly or indirectly, the decision making of the Company, including

the content and dissemination of the various statements that Plaintiff contends are materially

incomplete and misleading.

          55.   Each of the Individual Defendants was provided with, or had unlimited access to,

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause the statements to be corrected.

          56.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have



                                                  14
         Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 15 of 16




had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Registration Statement at issue contains

the unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were thus directly involved in preparing this document.

       57.     In addition, as set forth in the Registration Statement sets forth at length and

described herein, the Individual Defendants were involved in negotiating, reviewing, and

approving the Merger Agreement. The Registration Statement purports to describe the various

issues and information that the Individual Defendants reviewed and considered. The Individual

Defendants participated in drafting and/or gave their input on the content of those descriptions.

       58.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       59.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       60.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;




                                                15
         Case 1:21-cv-11179-MKV Document 1 Filed 12/30/21 Page 16 of 16




       B.      Directing the Individual Defendants to disseminate an Amendment to the

Registration Statement that does not contain any untrue statements of material fact and that states

all material facts required in it or necessary to make the statements contained therein not

misleading;

       C.      Directing Defendants to account to Plaintiff for all damages sustained because of

the wrongs complained of herein;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: December 30, 2021                                       Respectfully submitted,

                                                               By: /s/ Joshua M. Lifshitz
                                                               Joshua M. Lifshitz
                                                               Email: jml@jlclasslaw.com
                                                               LIFSHITZ LAW FIRM, P.C.
                                                               1190 Broadway,
                                                               Hewlett, New York 11557
                                                               Telephone: (516) 493-9780
                                                               Facsimile: (516) 280-7376

                                                               Attorneys for Plaintiff




                                                 16
